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                                         In the

               United States Court of Appeals
                           For the Seventh Circuit
                               ____________________ȱ

          No.ȱ14Ȭ3091ȱ
          ARIEȱS.ȱFRIEDMANȱandȱILLINOISȱSTATEȱRIFLEȱASSOCIATION,ȱ
                                                  PlaintiffsȬAppellants,ȱ

                                            v.ȱ

          CITYȱOFȱHIGHLANDȱPARK,ȱILLINOIS,ȱ
                                                           DefendantȬAppellee.ȱ
                               ____________________ȱ

                   AppealȱfromȱtheȱUnitedȱStatesȱDistrictȱCourtȱforȱtheȱ
                     NorthernȱDistrictȱofȱIllinois,ȱEasternȱDivision.ȱ
                       No.ȱ13ȱCȱ9073ȱ—ȱJohnȱW.ȱDarrah,ȱJudge.ȱ
                               ____________________ȱ

               ARGUEDȱJANUARYȱ22,ȱ2015ȱ—ȱDECIDEDȱAPRILȱ27,ȱ2015ȱ
                               ____________________ȱ

             Beforeȱ EASTERBROOK,ȱ MANION,ȱ andȱ WILLIAMS,ȱ Circuitȱ
          Judges.ȱ
             EASTERBROOK,ȱ Circuitȱ Judge.ȱ Theȱ Cityȱ ofȱ Highlandȱ Parkȱ
          hasȱ anȱ ordinanceȱ (§136.005ȱ ofȱ theȱ Cityȱ Code)ȱ thatȱ prohibitsȱ
          possessionȱ ofȱ assaultȱ weaponsȱ orȱ largeȬcapacityȱ magazinesȱ
          (thoseȱthatȱcanȱacceptȱmoreȱthanȱtenȱrounds).ȱTheȱordinanceȱ
          definesȱ anȱ assaultȱ weaponȱ asȱ anyȱ semiȬautomaticȱ gunȱ thatȱ
          canȱ acceptȱ aȱ largeȬcapacityȱ magazineȱ andȱ hasȱ oneȱ ofȱ fiveȱ
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          otherȱ features:ȱ aȱ pistolȱ gripȱ withoutȱ aȱ stockȱ (forȱ semiȬ
          automaticȱpistols,ȱtheȱcapacityȱtoȱacceptȱaȱmagazineȱoutsideȱ
          theȱpistolȱgrip);ȱaȱfolding,ȱtelescoping,ȱorȱthumbholeȱstock;ȱaȱ
          gripȱ forȱ theȱ nonȬtriggerȱ hand;ȱ aȱ barrelȱ shroud;ȱ orȱ aȱ muzzleȱ
          brakeȱ orȱ compensator.ȱ Someȱ weapons,ȱ suchȱ asȱ ARȬ15sȱ andȱ
          AKȬ47s,ȱareȱprohibitedȱbyȱname.ȱArieȱFriedman,ȱwhoȱlivesȱinȱ
          Highlandȱ Park,ȱ ownedȱ aȱ bannedȱ rifleȱ andȱ severalȱ largeȬ
          capacityȱmagazinesȱbeforeȱtheȱordinanceȱtookȱeffect,ȱandȱheȱ
          wantsȱtoȱownȱtheseȱitemsȱagain;ȱlikewiseȱmembersȱofȱtheȱIlȬ
          linoisȱ Stateȱ Rifleȱ Association,ȱ someȱ ofȱ whomȱ liveȱ inȱ HighȬ
          landȱ Park.ȱ Plaintiffsȱ askedȱ theȱ districtȱ courtȱ toȱ enjoinȱ enȬ
          forcementȱofȱtheȱordinance,ȱarguingȱthatȱitȱviolatesȱtheȱConȬ
          stitution’sȱSecondȱAmendment,ȱseeȱDistrictȱofȱColumbiaȱv.ȱHelȬ
          ler,ȱ 554ȱ U.S.ȱ 570ȱ (2008),ȱ appliedȱ toȱ theȱ statesȱ byȱ theȱ FourȬ
          teenth.ȱSeeȱMcDonaldȱv.ȱChicago,ȱ561ȱU.S.ȱ742ȱ(2010).ȱ
               Hellerȱ holdsȱ thatȱ aȱ lawȱ banningȱ theȱ possessionȱ ofȱ handȬ
          gunsȱ inȱ theȱ homeȱ(orȱ makingȱ theirȱ useȱ inȱ theȱ homeȱ infeasiȬ
          ble)ȱ violatesȱ theȱ individualȱ rightȱ toȱ keepȱ andȱ bearȱ armsȱ seȬ
          curedȱbyȱtheȱSecondȱAmendment.ȱButȱtheȱCourtȱaddedȱthatȱ
          thisȱisȱnotȱaȱ“rightȱtoȱkeepȱandȱcarryȱanyȱweaponȱwhatsoeverȱ
          inȱ anyȱ mannerȱ whatsoeverȱ andȱ forȱ whateverȱ purpose.”ȱ 554ȱ
          U.S.ȱ atȱ 626.ȱItȱcautionedȱagainstȱ interpretingȱtheȱ decisionȱ toȱ
          castȱ doubtȱ onȱ “longstandingȱ prohibitions”,ȱ includingȱ theȱ
          “historicalȱ traditionȱ ofȱ prohibitingȱ theȱ carryingȱ ofȱ ‘dangerȬ
          ousȱandȱunusualȱweapons’”.ȱId.ȱatȱ623,ȱ627.ȱItȱobservedȱthatȱ
          stateȱmilitias,ȱwhenȱcalledȱtoȱservice,ȱoftenȱhadȱaskedȱmemȬ
          bersȱtoȱcomeȱ armedȱwithȱtheȱsortȱofȱweaponsȱthatȱwereȱ“inȱ
          commonȱ useȱ atȱ theȱ time”,ȱ id.ȱ atȱ 624,ȱ andȱ itȱ thoughtȱ theseȱ
          kindsȱ ofȱ weaponsȱ (whichȱ haveȱ changedȱ overȱ theȱ years)ȱ areȱ
          protectedȱbyȱtheȱSecondȱAmendmentȱinȱprivateȱhands,ȱwhileȱ
          militaryȬgradeȱweaponsȱ(theȱsortȱthatȱwouldȱbeȱinȱaȱmilitia’sȱ
          armory),ȱ suchȱ asȱ machineȱ guns,ȱ andȱ weaponsȱ especiallyȱ atȬ
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          tractiveȱ toȱ criminals,ȱ suchȱ asȱ shortȬbarreledȱ shotguns,ȱ areȱ
          not.ȱId.ȱatȱ624–25.ȱ
              Plaintiffsȱcontendȱthatȱthereȱisȱnoȱ“historicalȱtradition”ȱofȱ
          banningȱ possessionȱ ofȱ semiȬautomaticȱ gunsȱ andȱ largeȬ
          capacityȱ magazines.ȱ SemiȬautomaticȱ riflesȱ haveȱ beenȱ marȬ
          ketedȱ forȱ civilianȱ useȱ forȱ overȱ aȱ hundredȱ years;ȱ Highlandȱ
          Park’sȱ ordinanceȱ wasȱ enactedȱ inȱ 2013.ȱ Butȱ thisȱ argumentȱ
          provesȱtooȱmuch:ȱitsȱlogicȱextendsȱtoȱbansȱonȱmachineȱgunsȱ
          (whichȱcanȱfireȱmoreȱthanȱoneȱroundȱwithȱaȱsingleȱpullȱofȱtheȱ
          trigger,ȱunlikeȱsemiȬautomaticȱweaponsȱthatȱchamberȱaȱnewȱ
          roundȱ automaticallyȱ butȱ requireȱ aȱ newȱ pullȱ toȱ fire).ȱ Hellerȱ
          deemedȱ aȱ banȱ onȱ privateȱ possessionȱ ofȱ machineȱ gunsȱ toȱ beȱ
          obviouslyȱ valid.ȱ 554ȱ U.S.ȱ atȱ 624.ȱ Butȱ statesȱ didn’tȱ beginȱ toȱ
          regulateȱprivateȱuseȱofȱmachineȱgunsȱuntilȱ1927.ȱSeeȱNotesȱtoȱ
          Uniformȱ Machineȱ GunȱAct,ȱ Handbookȱ ofȱ theȱ Nationalȱ ConferȬ
          enceȱofȱCommissionersȱonȱUniformȱStateȱLawsȱandȱProceedingsȱofȱ
          theȱ FortyȬSecondȱ Annualȱ Conferenceȱ 427–28ȱ (1932).ȱ Theȱ NaȬ
          tionalȱFirearmsȱAct,ȱ48ȱStat.ȱ1236,ȱregulatingȱmachineȱgunsȱatȱ
          theȱfederalȱlevel,ȱfollowedȱinȱ1934.ȱ
              Howȱ weaponsȱ areȱ sortedȱ betweenȱ privateȱ andȱ militaryȱ
          usesȱ hasȱ changedȱ overȱ time.ȱ Fromȱ theȱ perspectiveȱ ofȱ 2008,ȱ
          whenȱHellerȱwasȱdecided,ȱlawsȱdatingȱtoȱtheȱ1920sȱmayȱseemȱ
          toȱ belongȱ toȱ aȱ “historicalȱ tradition”ȱ ofȱ regulation.ȱ Butȱ theyȱ
          wereȱenactedȱmoreȱthanȱ130ȱyearsȱafterȱtheȱstatesȱratifiedȱtheȱ
          Secondȱ Amendment.ȱ Whyȱ shouldȱ regulationsȱ enactedȱ 130ȱ
          yearsȱafterȱtheȱSecondȱAmendment’sȱadoptionȱ(andȱnearlyȱ60ȱ
          yearsȱ afterȱ theȱ Fourteenth’s)ȱ haveȱ moreȱ validityȱ thanȱ thoseȱ
          enactedȱ anotherȱ 90ȱ yearsȱ later?ȱ Nothingȱ inȱ Hellerȱ suggestsȱ
          thatȱaȱconstitutionalȱchallengeȱtoȱbansȱonȱprivateȱpossessionȱ
          ofȱ machineȱ gunsȱ broughtȱ duringȱ theȱ 1930s,ȱ soonȱ afterȱ theirȱ
          enactment,ȱshouldȱhaveȱsucceeded—thatȱtheȱpassageȱofȱtimeȱ
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          createsȱ anȱ easementȱ acrossȱ theȱ Secondȱ Amendment.ȱ Seeȱ
          UnitedȱStatesȱv.ȱSkoien,ȱ614ȱF.3dȱ638ȱ(7thȱCir.ȱ2010)ȱ(enȱbanc).ȱ
          Ifȱ Highlandȱ Park’sȱ ordinanceȱ staysȱ onȱ theȱ booksȱ forȱ aȱ fewȱ
          years,ȱthatȱshouldn’tȱmakeȱitȱeitherȱmoreȱorȱlessȱopenȱtoȱchalȬ
          lengeȱunderȱtheȱSecondȱAmendment.ȱ
               PlaintiffsȱaskȱusȱtoȱdistinguishȱmachineȱgunsȱfromȱsemiȬ
          automaticȱ weaponsȱ onȱ theȱ groundȱ thatȱ theȱ latterȱ areȱ comȬ
          monlyȱownedȱforȱlawfulȱpurposes.ȱCf.ȱHeller,ȱ554ȱU.S.ȱatȱ625.ȱ
          ThisȱdoesȱnotȱtrackȱtheȱwayȱHellerȱdistinguishedȱUnitedȱStatesȱ
          v.ȱMiller,ȱ307ȱU.S.ȱ174ȱ(1939):ȱTheȱCourtȱtookȱfromȱMillerȱtheȱ
          ruleȱthatȱtheȱSecondȱAmendmentȱdoesȱnotȱauthorizeȱprivateȱ
          personsȱ toȱ possessȱ weaponsȱ suchȱ asȱ machineȱ gunsȱ andȱ
          sawedȬoffȱ shotgunsȱ thatȱ theȱ governmentȱ wouldȱ notȱ expectȱ
          (orȱ allow)ȱ citizensȱ toȱ bringȱ withȱ themȱ whenȱ theȱ militiaȱ isȱ
          calledȱ toȱ service.ȱ Duringȱ Prohibitionȱ theȱ Thompsonȱ submaȬ
          chineȱgunȱ(theȱ“Tommyȱgun”)ȱwasȱallȱtooȱcommonȱinȱChicaȬ
          go,ȱbutȱthatȱpopularityȱdidn’tȱgiveȱitȱaȱconstitutionalȱimmunȬ
          ityȱ fromȱ theȱ federalȱ prohibitionȱ enactedȱ inȱ 1934.ȱ (Theȱ TomȬ
          myȱ gunȱ isȱ aȱ machineȱ gun,ȱ asȱ definedȱ byȱ 18ȱ U.S.C.ȱ §921(23)ȱ
          andȱ26ȱU.S.C.ȱ§5845(b),ȱandȱgenerallyȱforbiddenȱbyȱ18ȱU.S.C.ȱ
          §922(a)(4),ȱbecauseȱitȱfiresȱmultipleȱroundsȱwithȱaȱsingleȱpullȱ
          ofȱtheȱtrigger;ȱlikeȱtheȱUziȱitȱisȱcalledȱaȱ“submachineȱgun”ȱtoȱ
          indicateȱ thatȱ itȱ isȱ smallerȱ andȱ moreȱ mobileȱ thanȱ otherȱ maȬ
          chineȱguns.ȱTheȱAKȬ47ȱandȱARȬ15ȱ(M16)ȱriflesȱinȱmilitaryȱuseȱ
          alsoȱ areȱ submachineȱ guns,ȱ thoughȱ civilianȱ versionsȱ areȱ reȬ
          strictedȱ toȱ semiȬautomaticȱ fire.)ȱ Bothȱ Hellerȱ andȱ Millerȱ conȬ
          templatedȱ thatȱ theȱ weaponsȱ properlyȱ inȱ privateȱ handsȱ forȱ
          militiaȱuseȱmightȱchangeȱthroughȱlegalȱregulationȱasȱwellȱasȱ
          innovationȱbyȱfirearmsȱmanufacturers.ȱ
               Andȱrelyingȱonȱhowȱcommonȱaȱweaponȱisȱatȱtheȱtimeȱofȱ
          litigationȱ wouldȱ beȱ circularȱ toȱ boot.ȱ Machineȱ gunsȱ aren’tȱ
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          No.ȱ14Ȭ3091ȱ                                                     5ȱ

          commonlyȱ ownedȱ forȱ lawfulȱ purposesȱ todayȱ becauseȱ theyȱ
          areȱ illegal;ȱ semiȬautomaticȱ weaponsȱ withȱ largeȬcapacityȱ
          magazinesȱareȱownedȱmoreȱcommonlyȱbecause,ȱuntilȱrecentȬ
          lyȱ(inȱsomeȱjurisdictions),ȱtheyȱhaveȱbeenȱlegal.ȱYetȱitȱwouldȱ
          beȱ absurdȱ toȱ sayȱ thatȱ theȱ reasonȱ whyȱ aȱ particularȱ weaponȱ
          canȱbeȱbannedȱisȱthatȱthereȱisȱaȱstatuteȱbanningȱthatȱit,ȱsoȱthatȱ
          itȱ isn’tȱ commonlyȱ owned.ȱ Aȱ law’sȱ existenceȱ can’tȱ beȱ theȱ
          sourceȱofȱitsȱownȱconstitutionalȱvalidity.ȱ
              HighlandȱParkȱcontendsȱthatȱtheȱordinanceȱmustȱbeȱvalidȱ
          becauseȱ weaponsȱ withȱ largeȬcapacityȱ magazinesȱ areȱ “danȬ
          gerousȱ andȱ unusual”ȱ asȱ Hellerȱ usedȱ thatȱ phrase.ȱ Yetȱ HighȬ
          landȱ Parkȱ concedesȱ uncertaintyȱ whetherȱ theȱ bannedȱ weapȬ
          onsȱareȱ commonlyȱowned;ȱifȱtheyȱareȱ(orȱwereȱbeforeȱitȱenȬ
          actedȱtheȱordinance),ȱthenȱtheyȱareȱnotȱunusual.ȱTheȱrecordȱ
          showsȱthatȱperhapsȱ9%ȱofȱtheȱnation’sȱfirearmsȱownersȱhaveȱ
          assaultȱ weapons,ȱ butȱ whatȱ lineȱ separatesȱ “common”ȱ fromȱ
          “uncommon”ȱownershipȱisȱsomethingȱtheȱCourtȱdidȱnotȱsay.ȱ
          Andȱtheȱrecordȱdoesȱnotȱshowȱwhetherȱtheȱbannedȱweaponsȱ
          areȱ “dangerous”ȱ comparedȱ withȱ handguns,ȱ whichȱ areȱ reȬ
          sponsibleȱforȱtheȱvastȱmajorityȱofȱgunȱviolenceȱinȱtheȱUnitedȱ
          States:ȱnearlyȱasȱmanyȱpeopleȱareȱkilledȱannuallyȱwithȱhandȬ
          gunsȱinȱChicagoȱaloneȱasȱhaveȱbeenȱkilledȱinȱmassȱshootingsȱ
          (whereȱ useȱ ofȱ aȱ bannedȱ weaponȱ mightȱ makeȱ aȱ difference)ȱ
          nationwideȱinȱmoreȱthanȱaȱdecade.ȱSeeȱResearchȱandȱDevelȬ
          opmentȱDivision,ȱ2011ȱChicagoȱMurderȱAnalysis,ȱChicagoȱPoȬ
          liceȱ Departmentȱ 23ȱ (2012);ȱ J.ȱ Peteȱ Blairȱ &ȱ Katherineȱ W.ȱ
          Schweit,ȱAȱStudyȱofȱActiveȱShooterȱIncidentsȱinȱtheȱUnitedȱStatesȱ
          Betweenȱ 2000ȱ andȱ 2013,ȱ Federalȱ Bureauȱ ofȱ Investigation,ȱ
          UnitedȱStatesȱDepartmentȱofȱJusticeȱ9ȱ(2014).ȱ
            Theȱ largeȱ fractionȱ ofȱ murdersȱ committedȱ byȱ handgunsȱ
          mayȱreflectȱtheȱfactȱthatȱtheyȱareȱmuchȱmoreȱnumerousȱthanȱ
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          6ȱ                                                      No.ȱ14Ȭ3091ȱ

          assaultȱweapons.ȱWhatȱshouldȱmatterȱtoȱtheȱ“danger”ȱquesȬ
          tionȱisȱhowȱdeadlyȱaȱsingleȱweaponȱofȱoneȱkindȱisȱcomparedȱ
          withȱaȱsingleȱweaponȱofȱaȱdifferentȱkind.ȱOnȱthatȱsubjectȱtheȱ
          recordȱprovidesȱsomeȱevidence.ȱWeȱknow,ȱforȱexample,ȱthatȱ
          semiȬautomaticȱ gunsȱ withȱ largeȬcapacityȱ magazinesȱ enableȱ
          shootersȱtoȱfireȱbulletsȱfasterȱthanȱhandgunsȱequippedȱwithȱ
          smallerȱmagazines.ȱWeȱalsoȱknowȱthatȱassaultȱweaponsȱgenȬ
          erallyȱ areȱ chamberedȱ forȱ smallȱ roundsȱ (comparedȱ withȱ aȱ
          largeȬcaliberȱhandgunȱorȱrifle),ȱwhichȱemergeȱfromȱtheȱbarrelȱ
          withȱlessȱmomentumȱandȱareȱlethalȱonlyȱatȱ(relatively)ȱshortȱ
          range.ȱ Thisȱ suggestsȱ thatȱ theyȱ areȱ lessȱ dangerousȱ perȱ bulȬ
          let—butȱtheyȱcanȱfireȱmoreȱbullets.ȱAndȱtheyȱareȱdesignedȱtoȱ
          sprayȱfireȱratherȱthanȱtoȱbeȱaimedȱcarefully.ȱThatȱmakesȱthemȱ
          simultaneouslyȱ moreȱ dangerousȱ toȱ bystandersȱ (andȱ targetsȱ
          ofȱ aspiringȱ massȱ murderers)ȱ yetȱ moreȱ usefulȱ toȱ elderlyȱ
          householdersȱ andȱ othersȱ whoȱ areȱ tooȱ frightenedȱ toȱ drawȱ aȱ
          carefulȱ beadȱ onȱ anȱ intruderȱ orȱ physicallyȱ unableȱ toȱ doȱ so.ȱ
          Whereȱdoesȱtheȱbalanceȱofȱdangerȱlie?ȱ
              Theȱ problemsȱ thatȱ wouldȱ beȱ createdȱ byȱ treatingȱ suchȱ
          empiricalȱ issuesȱ asȱ forȱ theȱ judiciaryȱ ratherȱ thanȱ theȱ legislaȬ
          ture—andȱ theȱ possibilityȱ thatȱ differentȱ judgesȱ mightȱ reachȱ
          dramaticallyȱ differentȱ conclusionsȱ aboutȱ relativeȱ risksȱ andȱ
          theirȱ constitutionalȱ significance—illustrateȱ whyȱ courtsȱ
          shouldȱnotȱreadȱHellerȱlikeȱaȱstatuteȱratherȱthanȱanȱexplanaȬ
          tionȱofȱtheȱCourt’sȱdisposition.ȱTheȱlanguageȱfromȱHellerȱthatȱ
          weȱ haveȱ quotedȱ isȱ precautionary:ȱ itȱ warnsȱ againstȱ readingsȱ
          thatȱgoȱbeyondȱtheȱscopeȱofȱHeller’sȱholdingȱthatȱ“theȱSecondȱ
          Amendmentȱcreatesȱindividualȱrights,ȱoneȱofȱwhichȱisȱkeepȬ
          ingȱoperableȱhandgunsȱatȱhomeȱforȱselfȬdefense.”ȱSkoien,ȱ614ȱ
          F.3dȱatȱ640.ȱ
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          No.ȱ14Ȭ3091ȱ                                                           7ȱ

              Hellerȱ doesȱ notȱ purportȱ toȱ defineȱ theȱ fullȱ scopeȱ ofȱ theȱ
          SecondȱAmendment.ȱ Theȱ Courtȱ hasȱ notȱ toldȱ usȱ whatȱ otherȱ
          entitlementsȱ theȱ SecondȱAmendmentȱ createsȱ orȱ whatȱ kindsȱ
          ofȱgunȱregulationsȱlegislaturesȱmayȱenact.ȱInsteadȱtheȱCourtȱ
          hasȱ alertedȱ otherȱ judges,ȱ inȱ Hellerȱ andȱ againȱ inȱ McDonald,ȱ
          thatȱ theȱ Secondȱ Amendmentȱ “doesȱ notȱ imperilȱ everyȱ lawȱ
          regulatingȱ firearms.”ȱ McDonald,ȱ 561ȱ U.S.ȱ atȱ 786ȱ (pluralityȱ
          opinion);ȱ Heller,ȱ 554ȱ U.S.ȱ atȱ 626–27ȱ &ȱ n.26.ȱ Cautionaryȱ lanȬ
          guageȱaboutȱwhatȱhasȱbeenȱleftȱopenȱshouldȱnotȱbeȱreadȱasȱifȱ
          itȱ wereȱ partȱ ofȱ theȱ Constitutionȱ orȱ answeredȱ allȱ possibleȱ
          questions.ȱItȱisȱenoughȱtoȱsay,ȱasȱweȱdidȱinȱSkoien,ȱ614ȱF.3dȱatȱ
          641,ȱ thatȱ atȱ leastȱ someȱ categoricalȱ limitsȱ onȱ theȱ kindsȱ ofȱ
          weaponsȱ thatȱ canȱ beȱ possessedȱ areȱ proper,ȱ andȱ thatȱ theyȱ
          needȱnotȱmirrorȱrestrictionsȱthatȱwereȱonȱtheȱbooksȱinȱ1791.ȱ
               Thisȱdoesȱnotȱimplyȱthatȱaȱlawȱaboutȱfirearmsȱisȱproperȱifȱ
          itȱ passesȱ theȱ rationalȬbasisȱ test—thatȱ is,ȱ asȱ longȱ asȱ itȱ servesȱ
          someȱ conceivableȱ validȱ function.ȱ See,ȱ e.g.,ȱ Vanceȱ v.ȱ BradȬ
          ley,ȱ440ȱU.S.ȱ93ȱ(1979).ȱAllȱlegislationȱrequiresȱaȱrationalȱbasis;ȱ
          ifȱtheȱSecondȱAmendmentȱimposedȱonlyȱaȱrationalȱbasisȱreȬ
          quirement,ȱitȱwouldn’tȱdoȱanything.ȱSoȱfar,ȱhowever,ȱtheȱJusȬ
          ticesȱhaveȱdeclinedȱtoȱspecifyȱhowȱmuchȱsubstantiveȱreviewȱ
          theȱ Secondȱ Amendmentȱ requires.ȱ Twoȱ courtsȱ ofȱ appealsȱ
          haveȱ appliedȱ aȱ versionȱ ofȱ “intermediateȱ scrutiny”ȱ andȱ susȬ
          tainedȱ limitsȱ onȱ assaultȱ weaponsȱ andȱ largeȬcapacityȱ magaȬ
          zines.ȱ Seeȱ Hellerȱ v.ȱ Districtȱ ofȱ Columbia,ȱ 670ȱ F.3dȱ 1244ȱ (D.C.ȱ
          Cir.ȱ 2011)ȱ (aȱ lawȱ materiallyȱ identicalȱ toȱ Highlandȱ Park’sȱ isȱ
          valid);ȱFyockȱv.ȱSunnyvale,ȱ779ȱF.3dȱ991ȱ(9thȱCir.ȱ2015)ȱ(aȱbanȱ
          onȱ magazinesȱ holdingȱ moreȱ thanȱ tenȱ roundsȱ isȱ valid).ȱ Butȱ
          insteadȱofȱtryingȱ toȱ decideȱ whatȱ“level”ȱ ofȱ scrutinyȱapplies,ȱ
          andȱhowȱitȱworks,ȱinquiriesȱthatȱdoȱnotȱresolveȱanyȱconcreteȱ
          dispute,ȱweȱthinkȱitȱbetterȱtoȱaskȱwhetherȱaȱregulationȱbansȱ
          weaponsȱ thatȱ wereȱ commonȱ atȱ theȱ timeȱ ofȱ ratificationȱ orȱ
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          8ȱ                                                       No.ȱ14Ȭ3091ȱ

          thoseȱthatȱhaveȱ“someȱreasonableȱrelationshipȱtoȱtheȱpreserȬ
          vationȱ orȱ efficiencyȱ ofȱ aȱ wellȱ regulatedȱ militia,”ȱ seeȱ Heller,ȱ
          554ȱ U.S.ȱ atȱ 622–25;ȱ Miller,ȱ 307ȱ U.S.ȱ atȱ 178–79,ȱ andȱ whetherȱ
          lawȬabidingȱcitizensȱretainȱadequateȱmeansȱofȱselfȬdefense.ȱ
              Theȱ featuresȱ prohibitedȱ byȱ Highlandȱ Park’sȱ ordinanceȱ
          wereȱ notȱ commonȱ inȱ 1791.ȱ Mostȱ gunsȱ availableȱ thenȱ couldȱ
          notȱfireȱmoreȱthanȱoneȱshotȱwithoutȱbeingȱreloaded;ȱrevolvȬ
          ersȱwithȱrotatingȱcylindersȱweren’tȱwidelyȱavailableȱuntilȱtheȱ
          earlyȱ 19thȱ century.ȱ SemiȬautomaticȱ gunsȱ andȱ largeȬcapacityȱ
          magazinesȱ areȱ moreȱ recentȱ developments.ȱ Barrelȱ shrouds,ȱ
          whichȱmakeȱgunsȱeasierȱtoȱoperateȱevenȱifȱtheyȱoverheat,ȱalȬ
          soȱ areȱ new;ȱ slowȬloadingȱ gunsȱ availableȱ inȱ 1791ȱ didȱ notȱ
          overheat.ȱAndȱ muzzleȱ brakes,ȱ whichȱ preventȱ aȱ gun’sȱ barrelȱ
          fromȱrisingȱinȱrecoil,ȱareȱanȱearlyȱ20thȱcenturyȱinnovation.ȱ
              Someȱ ofȱ theȱ weaponsȱ prohibitedȱ byȱ theȱ ordinanceȱ areȱ
          commonlyȱusedȱforȱmilitaryȱandȱpoliceȱfunctions;ȱtheyȱthereȬ
          foreȱ bearȱ aȱ relationȱ toȱ theȱ preservationȱ andȱ effectivenessȱ ofȱ
          stateȱ militias.ȱ Butȱ states,ȱ whichȱ areȱ inȱ chargeȱ ofȱ militias,ȱ
          shouldȱbeȱallowedȱtoȱdecideȱwhenȱciviliansȱcanȱpossessȱmiliȬ
          taryȬgradeȱ firearms,ȱ soȱ asȱ toȱ haveȱ themȱ availableȱ whenȱ theȱ
          militiaȱisȱcalledȱtoȱduty.ȱ(RecallȱthatȱthisȱisȱhowȱHellerȱunderȬ
          stoodȱ Miller.)ȱ Andȱ sinceȱ plaintiffsȱ doȱ notȱ distinguishȱ beȬ
          tweenȱstatesȱandȱotherȱunitsȱofȱlocalȱgovernment—accordingȱ
          toȱ them,ȱ anȱ identicalȱ banȱ enactedȱ byȱ theȱ Stateȱ ofȱ Illinoisȱ
          wouldȱ alsoȱ runȱ afoulȱ ofȱ theȱ SecondȱAmendment—weȱ needȱ
          notȱ decideȱ whetherȱ onlyȱ states,ȱ whichȱ traditionallyȱ regulateȱ
          militias,ȱ haveȱ theȱ powerȱ toȱ determineȱ whatȱ kindsȱ ofȱ weapȬ
          onsȱcitizensȱshouldȱhaveȱavailable.ȱ(Suchȱanȱargumentȱmightȱ
          anywayȱhaveȱbeenȱforeclosedȱbyȱIllinois’ȱrecognitionȱthatȱloȬ
          calȱassaultȬweaponȱbansȱenactedȱbeforeȱJulyȱ19,ȱ2013,ȱareȱvalȬ
          id;ȱseeȱ430ȱILCSȱ65/13.1(c).)ȱ
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              Sinceȱ theȱ bannedȱ weaponsȱ canȱ beȱ usedȱ forȱ selfȬdefense,ȱ
          weȱmustȱconsiderȱwhetherȱtheȱordinanceȱleavesȱresidentsȱofȱ
          Highlandȱ Parkȱ ampleȱ meansȱ toȱ exerciseȱ theȱ “inherentȱ rightȱ
          ofȱselfȬdefense”ȱthatȱtheȱSecondȱAmendmentȱprotects.ȱHeller,ȱ
          554ȱU.S.ȱatȱ628.ȱHellerȱheldȱthatȱtheȱavailabilityȱofȱlongȱgunsȱ
          doesȱ notȱ saveȱ aȱ banȱ onȱ handgunȱ ownership.ȱ Theȱ Justicesȱ
          tookȱnoteȱofȱsomeȱofȱtheȱreasons,ȱincludingȱeaseȱofȱaccessibilȬ
          ityȱandȱuse,ȱthatȱcitizensȱmightȱpreferȱhandgunsȱtoȱlongȱgunsȱ
          forȱ selfȬdefense.ȱ Butȱ Hellerȱ didȱ notȱ forecloseȱ theȱ possibilityȱ
          thatȱallowingȱtheȱuseȱofȱmostȱlongȱgunsȱplusȱpistolsȱandȱreȬ
          volvers,ȱ asȱ Highlandȱ Park’sȱ ordinanceȱ does,ȱ givesȱ houseȬ
          holdersȱadequateȱmeansȱofȱdefense.ȱ
              Plaintiffsȱ argueȱ thatȱ theȱ ordinanceȱ substantiallyȱ restrictsȱ
          theirȱ optionsȱ forȱ armedȱ selfȬdefense.ȱ Butȱ thatȱ contentionȱ isȱ
          underminedȱbyȱtheirȱargument,ȱinȱtheȱsameȱbreath,ȱthatȱtheȱ
          ordinanceȱ servesȱ noȱ purpose,ȱ becauseȱ (theyȱ say)ȱ criminalsȱ
          willȱ justȱ substituteȱpermittedȱfirearmsȱ functionallyȱidenticalȱ
          toȱ theȱ bannedȱ guns.ȱ Ifȱ criminalsȱ canȱ findȱ substitutesȱ forȱ
          bannedȱ assaultȱ weapons,ȱ thenȱ soȱ canȱ lawȬabidingȱ homeȬ
          owners.ȱUnlikeȱtheȱDistrictȱofȱColumbia’sȱbanȱonȱhandguns,ȱ
          Highlandȱ Park’sȱ ordinanceȱ leavesȱ residentsȱ withȱ manyȱ selfȬ
          defenseȱoptions.ȱ
             Trueȱ enough,ȱ assaultȱ weaponsȱ canȱ beȱ beneficialȱ forȱ selfȬ
          defenseȱ becauseȱ theyȱ areȱ lighterȱ thanȱ manyȱ riflesȱ andȱ lessȱ
          dangerousȱ perȱ shotȱ thanȱ largeȬcaliberȱ pistolsȱ orȱ revolvers.ȱ
          Householdersȱtooȱfrightenedȱorȱinfirmȱtoȱaimȱcarefullyȱmayȱ
          beȱableȱtoȱwieldȱthemȱmoreȱeffectivelyȱthanȱtheȱpistolsȱJamesȱ
          Bondȱ preferred.ȱ Butȱ assaultȱ weaponsȱ withȱ largeȬcapacityȱ
          magazinesȱcanȱfireȱmoreȱshots,ȱfaster,ȱandȱthusȱcanȱbeȱmoreȱ
          dangerousȱ inȱ aggregate.ȱ Whyȱ elseȱ areȱ theyȱ theȱ weaponsȱ ofȱ
          choiceȱ inȱ massȱ shootings?ȱ Aȱ banȱ onȱ assaultȱ weaponsȱ andȱ
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          largeȬcapacityȱ magazinesȱ mightȱ notȱ preventȱ shootingsȱ inȱ
          HighlandȱParkȱ(whereȱtheyȱareȱalreadyȱrare),ȱbutȱitȱmayȱreȬ
          duceȱtheȱcarnageȱifȱaȱmassȱshootingȱoccurs.ȱ
             ThatȱlawsȱsimilarȱtoȱHighlandȱPark’sȱreduceȱtheȱshareȱofȱ
          gunȱcrimesȱinvolvingȱassaultȱweaponsȱisȱestablishedȱbyȱdata.ȱ
          SeeȱChristopherȱS.ȱKoper,ȱDanielȱJ.ȱWoodsȱ&ȱJefferyȱA.ȱRoth,ȱ
          AnȱUpdatedȱAssessmentȱofȱtheȱFederalȱAssaultȱWeaponsȱBan:ȱImȬ
          pactsȱ onȱ Gunȱ Marketsȱ andȱ Gunȱ Violence,ȱ 1994Ȭ2003,ȱ Reportȱ toȱ
          theȱNationalȱInstituteȱofȱJustice,ȱUnitedȱStatesȱDepartmentȱofȱ
          Justiceȱ 39–60ȱ (Juneȱ 2004).ȱ Thereȱ isȱ alsoȱ someȱ evidenceȱ linkȬ
          ingȱtheȱavailabilityȱofȱassaultȱweaponsȱtoȱgunȬrelatedȱhomiȬ
          cides.ȱSeeȱArindrajitȱDube,ȱOeindrilaȱ Dubeȱ&ȱOmarȱGarcíaȬ
          Ponce,ȱ CrossȬBorderȱ Spillover:ȱ U.S.ȱ Gunȱ Lawsȱ andȱ Violenceȱ inȱ
          Mexico,ȱ107ȱAm.ȱPol.ȱSci.ȱRev.ȱ397ȱ(2013)ȱ(findingȱthatȱMexiȬ
          canȱ municipalitiesȱ borderingȱ Americanȱ statesȱ withoutȱ asȬ
          saultȱ weaponsȱ bansȱ experiencedȱ moreȱ gunȬrelatedȱ homiȬ
          cidesȱthanȱthoseȱborderingȱCalifornia,ȱwhichȱhadȱaȱban).ȱ
              Plaintiffsȱ nonethelessȱ contendȱ thatȱ theȱ ordinanceȱ willȱ
          haveȱ noȱ effectȱ onȱ gunȱ violenceȱ becauseȱ theȱ sortȱ ofȱ firearmsȱ
          bannedȱ inȱ Highlandȱ Parkȱ areȱ availableȱ elsewhereȱ inȱ Illinoisȱ
          andȱ inȱ adjacentȱ states.ȱ Butȱ dataȱ showȱ thatȱ mostȱ criminalsȱ
          commitȱ crimesȱ closeȱ toȱ home.ȱ Seeȱ Elizabethȱ Groffȱ &ȱ Tomȱ
          McEwen,ȱExploringȱtheȱSpatialȱConfigurationȱofȱPlacesȱRelatedȱtoȱ
          Homicideȱ Events,ȱ Reportȱ toȱ theȱ Nationalȱ Instituteȱ ofȱ Justice,ȱ
          Unitedȱ Statesȱ Departmentȱ ofȱ Justiceȱ 5–10,ȱ 48–56ȱ (Marchȱ
          2006)ȱ (homicide);ȱ ChristopheȱVandeviver,ȱ Stijnȱ VanȱDaeleȱ &ȱ
          Tomȱ VanderȱBeken,ȱ Whatȱ Makesȱ Longȱ Crimeȱ Tripsȱ Worthȱ UnȬ
          dertaking?ȱ Balancingȱ Costsȱ andȱ Benefitsȱ inȱ Burglars’ȱ Journeyȱ toȱ
          Crime,ȱ55ȱBrit.ȱJ.ȱCriminologyȱ399,ȱ401,ȱ406–07ȱ(2015)ȱ(burglaȬ
          ry).ȱ Localȱ crimesȱ areȱ mostȱ likelyȱ toȱ beȱ committedȱ byȱ localȱ
          residents,ȱ whoȱ areȱ lessȱ likelyȱ toȱ haveȱ accessȱ toȱ firearmsȱ
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          bannedȱ byȱ aȱ localȱ ordinance.ȱ Aȱ banȱ onȱ assaultȱ weaponsȱ
          won’tȱ eliminateȱ gunȱ violenceȱ inȱ Highlandȱ Park,ȱ butȱ itȱ mayȱ
          reduceȱ theȱ overallȱ dangerousnessȱ ofȱ crimeȱ thatȱ doesȱ occur.ȱ
          Plaintiffs’ȱ argumentȱ provesȱ farȱ tooȱ much:ȱ itȱ wouldȱ implyȱ
          thatȱ noȱ jurisdictionȱ otherȱ thanȱ theȱ Unitedȱ Statesȱ asȱ aȱ wholeȱ
          canȱ regulateȱ firearms.ȱ Butȱ that’sȱ notȱ whatȱ Hellerȱ concluded,ȱ
          andȱnotȱwhatȱweȱhaveȱheldȱforȱlocalȱbansȱonȱotherȱsubstancȬ
          es.ȱSeeȱNationalȱPaintȱ&ȱCoatingsȱAss’nȱv.ȱChicago,ȱ45ȱF.3dȱ1124ȱ
          (7thȱCir.ȱ1995)ȱ(sprayȱpaint).ȱ
              Ifȱ itȱ hasȱ noȱ otherȱ effect,ȱ Highlandȱ Park’sȱ ordinanceȱ mayȱ
          increaseȱtheȱpublic’sȱsenseȱofȱsafety.ȱMassȱshootingsȱareȱrare,ȱ
          butȱtheyȱareȱhighlyȱsalient,ȱandȱpeopleȱtendȱtoȱoverestimateȱ
          theȱ likelihoodȱ ofȱ salientȱ events.ȱ Seeȱ Georgeȱ F.ȱ Loewenstein,ȱ
          Christopherȱ K.ȱ Hsee,ȱ Elkeȱ U.ȱ Weberȱ &ȱ Nedȱ Welch,ȱ Riskȱ asȱ
          Feelings,ȱ127ȱPsychologicalȱBulletinȱ267,ȱ275–76ȱ(2001);ȱEricȱJ.ȱ
          Johnson,ȱ Johnȱ Hershey,ȱ Jacquelineȱ Meszarosȱ &ȱ Howardȱ
          Kunreuther,ȱ Framing,ȱ Probabilityȱ Distortions,ȱ andȱ Insuranceȱ
          Decisions,ȱ7ȱJ.ȱRiskȱ&ȱUncertaintyȱ35ȱ(1993).ȱIfȱaȱbanȱonȱsemiȬ
          automaticȱ gunsȱ andȱ largeȬcapacityȱ magazinesȱ reducesȱ theȱ
          perceivedȱ riskȱ fromȱ aȱ massȱ shooting,ȱ andȱ makesȱ theȱ publicȱ
          feelȱsaferȱasȱaȱresult,ȱthat’sȱaȱsubstantialȱbenefit.ȱCf.ȱFrankȱv.ȱ
          Walker,ȱ768ȱF.3dȱ744,ȱ751ȱ(7thȱCir.ȱ2014).ȱ
              McDonaldȱ holdsȱ thatȱ theȱ SecondȱAmendmentȱ createsȱ inȬ
          dividualȱ rightsȱ thatȱ canȱ beȱ assertedȱ againstȱ stateȱ andȱ localȱ
          governments.ȱButȱneitherȱitȱnorȱHellerȱattemptsȱtoȱdefineȱtheȱ
          entireȱ scopeȱ ofȱ theȱ Secondȱ Amendment—toȱ takeȱ allȱ quesȬ
          tionsȱ aboutȱ whichȱ weaponsȱ areȱ appropriateȱ forȱ selfȬdefenseȱ
          outȱofȱtheȱpeople’sȱhands.ȱHellerȱandȱMcDonaldȱsetȱlimitsȱonȱ
          theȱregulationȱofȱfirearms;ȱbutȱwithinȱthoseȱlimits,ȱtheyȱleaveȱ
          mattersȱ open.ȱ Theȱ bestȱ wayȱ toȱ evaluateȱ theȱ relationȱ amongȱ
          assaultȱ weapons,ȱ crime,ȱ andȱ selfȬdefenseȱ isȱ throughȱ theȱ poȬ
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          liticalȱprocessȱandȱscholarlyȱdebate,ȱnotȱbyȱparsingȱambiguȬ
          ousȱ passagesȱ inȱ theȱ Supremeȱ Court’sȱ opinions.ȱ Theȱ centralȱ
          roleȱ ofȱ representativeȱ democracyȱ isȱ noȱ lessȱ partȱ ofȱ theȱ ConȬ
          stitutionȱ thanȱ isȱ theȱ Secondȱ Amendment:ȱ whenȱ thereȱ isȱ noȱ
          definitiveȱ constitutionalȱ rule,ȱ mattersȱ areȱ leftȱ toȱ theȱ legislaȬ
          tiveȱ process.ȱ Seeȱ McCullochȱ v.ȱ Maryland,ȱ 17ȱ U.S.ȱ 316,ȱ 407ȱ
          (1819).ȱ
              Anotherȱconstitutionalȱprincipleȱisȱrelevant:ȱtheȱConstituȬ
          tionȱestablishesȱaȱfederalȱrepublicȱwhereȱlocalȱdifferencesȱareȱ
          cherishedȱ asȱelementsȱofȱliberty,ȱratherȱ thanȱeliminatedȱinȱaȱ
          searchȱ forȱ nationalȱ uniformity.ȱ McDonaldȱ circumscribesȱ theȱ
          scopeȱofȱpermissibleȱexperimentationȱbyȱstateȱandȱlocalȱgovȬ
          ernments,ȱ butȱ itȱ doesȱ notȱ forecloseȱ allȱ possibilityȱ ofȱ experiȬ
          mentation.ȱ Withinȱ theȱ limitsȱ establishedȱ byȱ theȱ Justicesȱ inȱ
          Hellerȱ andȱ McDonald,ȱ federalismȱ andȱ diversityȱ stillȱ haveȱ aȱ
          claim.ȱWhetherȱthoseȱlimitsȱshouldȱbeȱextendedȱisȱinȱtheȱendȱ
          aȱquestionȱforȱtheȱJustices.ȱGivenȱourȱunderstandingȱofȱexistȬ
          ingȱlimits,ȱtheȱjudgmentȱisȱ
                                                                     AFFIRMED.ȱ
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             MANION, Circuit Judge, dissenting.
              By prohibiting a class of weapons commonly used
          throughout the country, Highland Park’s ordinance infringes
          upon the rights of its citizens to keep weapons in their homes
          for the purpose of defending themselves, their families, and
          their property. Both the ordinance and this court’s opinion
          upholding it are directly at odds with the central holdings of
          Heller and McDonald: that the Second Amendment protects a
          personal right to keep arms for lawful purposes, most notably
          for self-defense within the home. District of Columbia v. Heller,
          554 U.S. 570, 635 (2008); McDonald v. City of Chicago, 561 U.S.
          767, 780 (2010). For the following reasons, I respectfully
          dissent.
              Unlike public life where the cities and states have broad
          authority to regulate, the ultimate decision for what constitutes
          the most effective means of defending one’s home, family, and
          property resides in individual citizens and not in the govern-
          ment. The Heller and McDonald opinions could not be clearer
          on this matter. Heller, 554 U.S. at 635; McDonald, 561 U.S. at 780.
          The extent of danger—real or imagined—that a citizen faces at
          home is a matter only that person can assess in full.
              To be sure, assault rifles and large capacity magazines are
          dangerous. But their ability to project large amounts of force
          accurately is exactly why they are an attractive means of self-
          defense. While most persons do not require extraordinary
          means to defend their homes, the fact remains that some do.
          Ultimately, it is up to the lawful gun owner and not the
          government to decide these matters. To limit self-defense to
          only those methods acceptable to the government is to effect an
          enormous transfer of authority from the citizens of this country
          to the government—a result directly contrary to our constitu-
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          tion and to our political tradition. The rights contained in the
          Second Amendment are “fundamental” and “necessary to our
          system of ordered liberty.” McDonald, 561 U.S. at 778. The
          government recognizes these rights; it does not confer them.
               Fundamentally, I disagree with the court’s reading of
          United States v. Miller, 307 U.S. 174 (1939), as it pertains to the
          nature of the rights recognized by the Second Amendment.
          Long ago, in Miller, the Supreme Court expressly tied Second
          Amendment rights to one’s association with a state militia. In
          Heller, the District of Columbia relied on this holding from
          Miller as justification for an ordinance restricting the rights of
          its citizens to keep and use handguns. 554 U.S. at 577, 587. The
          Supreme Court disagreed. Id. at 622. Indeed, the central
          holding of Heller is that citizens have an individual right to
          keep and bear firearms that does not depend upon any
          association with a militia. In so holding, Heller effectively laid
          to rest the notion of collective Second Amendment rights, and
          then McDonald placed a wreath on its grave.
              Here, the court comes not to bury Miller but to exhume it.
          To that end, it surveys the landscape of firearm regulations as
          if Miller were still the controlling authority and Heller were a
          mere gloss on it. The court’s reading culminates in a novel test:
          whether the weapons in question were “common at the time of
          ratification” or have “some reasonable relationship to the
          preservation or efficiency of a well regulated militia,” and
          “whether law-abiding citizens retain adequate means of self-
          defense.” Ante at 7–8.
             The problem is Heller expressly disclaimed two of the three
          aspects of this test; and it did so not as a matter of simple
          housekeeping, but as an immediate consequence of its central
          holding. It held as “bordering on the frivolous” arguments that
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          recognized a right to bear only those arms in existence at the
          time of ratification. Heller, 554 U.S. at 582 (“Some have made
          the argument, bordering on the frivolous, that only those arms
          in existence in the 18th century are protected by the Second
          Amendment.”). Likewise, it expressly overruled any reading
          of the Second Amendment that conditioned the rights to keep
          and bear arms on one’s association with a militia. Id. at 612. (“It
          is not possible to read this as discussing anything other than an
          individual right unconnected to militia service.”). For this
          reason, there is no way to square this court’s holding with the
          clear precedents of Heller and McDonald.
                                  Heller and McDonald
              We turn to the controlling precedents. Although the Heller
          decision is of recent vintage, the rights recognized by it—for
          individual citizens to keep and bear arms lawfully—are not.
          Heller certainly did not create them in 2008, nor did the Second
          Amendment in 1791. These rights are “fundamental” and
          “deeply rooted in this Nation’s history and tradition.” McDon-
          ald, 561 U.S. at 768. They are natural rights that pre-existed the
          Second Amendment. Heller, 554 U.S. at 592 (quoting United
          States v. Cruikshank, 92 U.S. 542, 553 (1876) that the right to
          carry weapons is not “dependent upon [the Second Amend-
          ment] for its existence.”); Ezell v. City of Chicago, 651 F.3d 684,
          700 (7th Cir. 2011). This understanding persisted and was
          shared by the Framers of the Fourteenth Amendment, who
          counted these among the “fundamental rights necessary to our
          system of ordered liberty.” McDonald, 561 U.S. at 778. These
          rights exist not merely in the abstract, but are exercised on a
          daily basis; indeed, a detailed list of the various ways in which
          Americans use weapons lawfully would be prohibitively long.
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             Which brings us to Friedman, our plaintiff. He is a resident
          of Highland Park who owns an AR rifle and large capacity
          magazines of the types prohibited by the ordinance. Friedman
          contends—and the city does not contest—that he keeps the
          weapons in his home for the defense of his family. Prior to the
          passage of the ordinance, he used these weapons lawfully.
          Now, under the terms of the ordinance, Friedman has ninety
          days to remove the weapons beyond Highland Park’s city
          limits or to surrender them to the Chief of Police. §136.005
          (D)(1), (3). Should he fail to do so, he faces a misdemeanor
          conviction punishable by up to six months in jail and a fine of
          between $500 and $1,000. Id. at § (F).
                                         The Framework
              In Ezell, we stated that a court must first identify whether
          the regulated activity falls within the scope of the Second
          Amendment. 651 F.3d at 701. However, where, as here, the
          activity is directly tied to specific classes of weapons, we are
          faced with an additional threshold matter: whether the classes
          of weapons regulated are commonly used by law-abiding
          citizens. If the weapons in question (assault rifles and high-
          capacity magazines) are not commonly used by law-abiding
          citizens, then our inquiry ends as there is no Second Amend-
          ment protection and the regulation is presumed to be lawful.1


               1
                This question is best viewed as a separate, threshold matter than as an
          aspect of the regulated activity. An example bears this out: because hand
          grenades have never been commonly used by law-abiding citizens for
          lawful purposes, it matters not whether the regulation is an ordinance
          prohibiting ownership of such weapons, a licensing scheme impeding
          access to them, or a regulation setting conditions on their manufacture or
          sale: the Second Amendment does not apply to such inquiry because the
          type of weapon is not covered by it.
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              If the weapons are covered by the Second Amendment, we
          then examine whether the asserted right (i.e., the activity
          affected by the regulation) is likewise covered. To do this, we
          examine how the asserted right was publicly understood when
          the Fourteenth Amendment was ratified (or Second Amend-
          ment in the case of federal regulation) to discern whether the
          right (or some analogue) has been exercised historically. Id. at
          702. This answer requires a textual and historical inquiry into
          the original meaning of the Second Amendment. Id. (citing
          Heller, 554 U.S. at 634–35). Significantly, the plaintiff need not
          demonstrate the absence of regulation in order to prevail; the
          burden rests squarely on the government to establish that the
          activity has been subject to some measure of regulation. Id.
              Finally, if we conclude that the weapons and asserted right
          at issue are covered by the Second Amendment, then we must
          assign a level of scrutiny appropriate to the right regulated and
          determine whether the regulation survives such scrutiny. Ezell,
          651 F.3d at 702–03. Conversely, if the activity falls outside of
          the scope of the Second Amendment as understood at the
          relevant historical moment (1868 with the passage of the
          Fourteenth Amendment), the regulated activity is categorically
          unprotected and our inquiry ends. Id. at 703.
             In summary, this framework involves up to three separate
          steps for a reviewing court. A shorthand of it runs as follows:
             1. determine whether the weapon is commonly used by
                law-abiding citizens;
             2. review the original public meaning of the asserted right
                (i.e. the regulated activity); and, if both the weapon and
                asserted right are covered;
             3. assign and apply a standard of scrutiny.
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             Having established the appropriate framework, it is time to
          examine Highland Park’s ordinance in light of the Second
          Amendment.
                                           Common Use
              The regulated weapons: In Miller, the Supreme Court
          upheld a prohibition against short-barreled shotguns because
          the Second Amendment did not protect those weapons that
          were not typically possessed as ordinary military equipment
          for use in a state militia. 307 U.S. at 178. The “common use”
          test is the offspring of this decision and asks whether a
          particular weapon is commonly used by law-abiding citizens
          for lawful purposes.2 Heller jettisoned Miller’s requirement of
          a nexus between the weapon and military equipment, but
          otherwise adopted the test with a focus on whether the
          weapon in question has obtained common use by law abiding
          citizens. Heller, 554 U.S. 623, 627.
             Here, the evidentiary record is unequivocal: a statistically
          significant amount of gun owners such as Friedman use semi-
          automatic weapons and high-capacity magazines for lawful
          purposes.3 This evidence is sufficient to demonstrate that these


               2
                It is of no significance that other courts have worded this inquiry
          differently, asking whether the regulated weapons are “dangerous and
          unusual.” All weapons are presumably dangerous. To say that a weapon is
          unusual is to say that it is not commonly used for lawful purposes.
               3
                 Insofar as the evidentiary record addresses the matter, it supports the
          proposition that AR-rifles are commonly used by law-abiding citizens. Out
          of 57 million firearm owners in the United States, it is estimated that 5
          million own AR-type rifles. (A. 66). Firearm industry analysts estimate that
          5,128,000 AR-type rifles were produced in the United States for domestic
          sale, while an additional 3,415,000 were imported. (A. 65; 73). Between 2008
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          weapons are commonly used and are not unusual. In other
          words, they are covered by the Second Amendment. Whether
          or how people might use these weapons for illegal purposes
          provides a basis for a state to regulate them, but it has no
          bearing on whether the Second Amendment covers them.
          Unfortunately, the court effectively inverts this equation and
          considers first the potential illegal uses (here: catastrophic
          public shootings) and then doubles back to determine whether
          attendant lawful use by ordinary citizens might be sufficient to
          warrant some type of Second Amendment protection.
              An example: At oral argument, there was much discussion
          about various longstanding regulations prohibiting such
          weapons as machine guns. The crux of this discussion was
          whether machine guns would have satisfied the common use
          test during the 1930s when they were the weapon of choice
          among gangsters in Chicago. But this misses the point: it
          matters not whether fifty or five thousand mob enforcers used
          a particular weapon, the question is whether a critical mass of
          law-abiding citizens did. In the case of machine guns, nobody
          has argued, before or since, that ordinary citizens used these
          weapons for lawful purposes, and so they have been rightly
          deemed not to fall within the ambit of the Second Amendment.
          Had there been even a small amount of citizens who used them
          for lawful purposes, then the Second Amendment might have
          covered them. The fact that gangsters used them to terrorize
          people might have served as ample justification to regulate


          and 2012, approximately 11.4% of firearms manufactured in the United
          States were AR-type rifles. A survey of randomly selected United States
          residents demonstrated that an estimated 11,976,702 million persons
          participated in target shooting with an AR-type rifle in 2012. (A. 68; 102).
          The evidentiary record contains no entries disputing these estimates.
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          them (or even prohibit them outright), but it has no bearing on
          whether they are covered under the Second Amendment.4
              The court also objected because the common-use test is a
          circular one.5 Perhaps so, but the law is full of such tests, and
          this one is no more circular than the “reasonable expectation of
          privacy” or the “reasonable juror.” The fact that a statistically
          significant number of Americans use AR-type rifles and large-
          size magazines demonstrates ipso facto that they are used for
          lawful purposes. Our inquiry should have ended here: the
          Second Amendment covers these weapons.




               4
                Weapons can be commonly used by both criminals and law-abiding
          citizens. For example, the court correctly notes that handguns have long
          been the preferred weapon for criminals and are “responsible for the vast
          majority of gun violence in the United States … .” Ante at 5. This, of course,
          is the same type of weapon that McDonald recognized as covered under the
          Second Amendment because it was (and still is) “the most preferred firearm
          in the nation.” 561 U.S. 767. In evaluating common use, McDonald
          considered as relevant only use by law-abiding citizens.
               5
                Circularity results from the obvious fact that common use is aided
          when a weapon is legal and precluded when it is not. The argument goes
          that authorities are free to regulate irrespective of the Second Amendment
          until a weapon obtains a certain quotient of use by law-abiding citizens.
          After that, they are too late as Second Amendment protections obtain.
          Under this view, common use is the effect of law rather than the cause. But
          this scenario overstates the evolution of technology among weapons.
          Overwhelmingly, newly developed weapons are merely updated versions
          of weapons already in the marketplace. It is rare to have a weapon come to
          market in such form that it has no precursors subject to regulation. Weapon
          manufacturers are unlikely to expend funds to develop and bring to market
          variations on classes of weapons that are currently prohibited.
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                          Original Meaning of Asserted Rights
              We follow Heller’s example examining the original meaning
          of the right asserted. 554 U.S. at 576. Heller examined the right
          to keep arms as it was understood in 1791 when the Second
          Amendment was ratified. Significantly, Heller expressly
          rejected the view that the Second Amendment contained a
          unitary right and instead noted that lawmakers of the founding
          period routinely grouped multiple, related, rights under a
          singular right. Heller, 554 U.S. at 591. Because the rights in the
          Second Amendment are many and varied, a court must
          identify the specific right implicated by a regulation.
             To examine the scope of the right, we must first identify the
          regulated activity. Here, the relevant section of the ordinance
          provides that: “No person shall manufacture, sell, offer or
          display for sale, give, lend, transfer ownership of, acquire or
          possess any assault weapon or large capacity magazine.” §
          136.005(B). Plaintiffs do not challenge the provisions associated
          with the manufacture or sale of such weapons in Highland
          Park and so we need not address the scope of those rights.
          Instead, we isolate our attention on the language in the statute
          that forbids a citizen from acquiring or possessing any assault
          weapon or large-capacity magazine.
                   The Right to Keep Arms v. The Right to Bear Arms
             Heller defined the term “to keep arms” to mean to “have
          weapons,” and “to bear arms” as to “carr[y]” weapons. 554
          U.S. at 582; 589. Though similar, these activities are not
          identical; for instance, an ordinance that prohibits the carriage
          or use of weapons but not outright possession would not
          implicate the right to keep arms, but only the right to bear
          them in certain locations. Highland Park’s ordinance implicates
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          both rights. Leaving aside the other prohibitions, the ordinance
          prohibits the “acqui[sition] or possess[ion of] any assault
          weapon or large capacity magazine.” §136.005 (B). Notably
          absent from this provision is any qualifying language: all forms
          of possession are summarily prohibited. Other laws notwith-
          standing, the ordinance makes no distinction between storing
          large-capacity magazines in a locked safe at home and carrying
          a loaded assault rifle while walking down Main Street. Both
          constitute “possession” and are prohibited outright.
              Of course, our inquiry centers on the understanding of the
          right to keep arms in 1868 when the Fourteenth Amendment
          became law. Fortunately, we need not engage in original
          historical analysis because the Supreme Court in McDonald has
          done so on this exact question—albeit in the context of an
          ordinance restricting the right to keep handguns in the home.
          McDonald concluded that the right to keep a weapon in one’s
          home for the purposes of self-defense is the broadest right
          under the Second Amendment. It noted:
               Self-defense is a basic right, recognized by many legal
               systems from ancient times to the present day, and in
               Heller, we held that individual self-defense is ‘the central
               component’ of the Second Amendment right. … Explain-
               ing that ‘the need for defense of self, family, and prop-
               erty is most acute’ in the home … we found that this
               right applies to handguns because they are ‘the most
               preferred firearm in the nation to ‘keep’ and use for the
               protection of one’s home and family … . Thus, we
               concluded, citizens must be permitted to use [hand-
               guns] for the core lawful purpose of self-defense.
          McDonald, 561 U.S. at 767–68 (citing Heller, 554 U.S. at 630)
          (emphasis in original).
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              Rather than merely regulate how weapons are to be stored
          at home, Highland Park’s ordinance goes further than the one
          that the Court found unconstitutional in Heller: it prohibits any
          form of possession of these weapons. It is immaterial to this
          inquiry that the regulations targeted different classes of
          weapons (handguns versus assault rifles and large-capacity
          magazines) because the issue at this step involves the scope of
          the protected activity—the right to keep arms for self-
          defense—not the class of weapons involved with such activity;
          that inquiry is relevant at the final step in examining the
          purpose for the regulation.
               If the right to keep arms in the home for the purpose of self-
          defense obtains the broadest protections under the Second
          Amendment, it follows by implication that regulations affect-
          ing the rights to carry (bear) arms outside of the home are
          given greater deference. Indeed, the vast majority of the
          longstanding regulations deemed “presumptively lawful” by
          Heller and McDonald are regulations against the use and
          carriage of weapons. See, e.g., Heller, 554 U.S. at 626–27; Heller
          v. District of Columbia, 670 F.3d 1244, 1253 (D.C. Cir. 2011)
          (“Heller II”); United States v. Rene E., 583 F.3d 8, 12 (1st Cir.
          2009). Traditionally, these regulations limited the carriage of
          weapons in sensitive locations such as courthouses or banned
          dueling or carrying concealed weapons such as pocket pistols
          or bowie knives. See Robert Leider, Our Non-Originalist Right
          to Bear Arms, 89 Ind. L. J. 1587, 1601 (2014). In contrast, those
          regulations prohibiting ownership of weapons outright
          focused on the status of the regulated party as a felon or a
          person ill-suited for gun ownership due to mental infirmities.
          Id. In short, outside of weapons deemed dangerous or unusual,
          there is no historical tradition supporting wholesale prohibi-
          tions of entire classes of weapons.
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                                  Standards of Scrutiny
              Insofar as Highland Park’s ordinance implicates Friedman’s
          right to keep assault rifles and large-capacity magazines in his
          home for the purposes of self-defense, it implicates a funda-
          mental right and is subject to strict scrutiny. See Clark v. Jeter,
          486 U.S. 456, 461 (1988) (“classifications affecting fundamental
          rights are given the most exacting scrutiny”) (citation omitted).
          Of course, other courts have applied lower standards of review
          even in cases where they recognized that the regulation
          impinged upon a fundamental right under the Second Amend-
          ment. See, e.g., Heller II, 670 F.3d at 1256.
              The distinction here is a matter of kind and not degree;
          rather than limiting the terms under which a fundamental right
          might be exercised, Highland Park’s ordinance serves as a total
          prohibition of a class of weapons that Friedman used to defend
          his home and family. The right to self-defense is largely
          meaningless if it does not include the right to choose the most
          effective means of defending oneself. For this reason, Heller
          struck down a District of Columbia ordinance requiring that
          firearms in the home be rendered and kept inoperable at all
          times because the ordinance “makes it impossible for citizens
          to use [the regulated weapons] for the core lawful purpose of
          self-defense … .” Heller, 554 U.S. at 630. Because Highland
          Park’s ordinance cuts right to the heart of the Second Amend-
          ment, it deserves the highest level of scrutiny.
              Under strict scrutiny, Highland Park must prove that its
          law furthers a compelling government interest and must
          employ the least restrictive means to achieve that end. United
          States v. Playboy Entertainment Group, Inc., 529 U.S. 803, 813
          (2000). Accordingly, Highland Park claims that the law
          furthers the compelling interest of preventing public shootings
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          such as those witnessed at the movie theater in Aurora,
          Colorado and at Sandy Hook Elementary School in Connecti-
          cut. No problem so far: public safety is an obvious compelling
          interest in this case. That the regulated weapons are capable of
          inflicting substantial force is no doubt relevant in forming a
          basis for the City to regulate their use within its public spaces.
              The difficulties arise in the next prong; rather than being
          the least restrictive means to address these particular public
          safety issues, Highland Park’s ordinance serves as the bluntest
          of instruments, banning a class of weapons outright, and
          restricting the rights of its citizens to select the means by which
          they defend their homes and families. Here, one need not parse
          out the various alternatives that Highland Park could have
          chosen to achieve these ends; any alternative would have been
          less restrictive. This can only yield one conclusion: the provi-
          sions in Highland Park’s ordinance prohibiting its citizens
          from acquiring or possessing assault rifles or large-capacity
          magazines are unconstitutional insofar as they prohibit citizens
          from lawfully keeping such weapons in their homes.
              Insofar as Highland Park’s ordinance implicates the right
          to carry or use these weapons outside of one’s property, it is
          subject to intermediate scrutiny. To satisfy this standard,
          Highland Park must show that the restrictions are “substan-
          tially related to an important government objective.” Clark, 486
          U.S. at 461. As noted earlier, restricting the use and carriage of
          assault rifles and large-capacity magazines in Highland Park
          is related to an important government objective—protecting
          the safety of its citizens. Unlike strict scrutiny analysis,
          intermediate scrutiny does not require that the ordinance be
          the least restrictive means, but that it serve an important
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          government interest in a way that is substantially related to
          that interest. Univ. of N.Y. v. Fox, 492 U.S. 469, 477 (1989).
              As other courts have noted, restrictions against assault
          weapons and large capacity magazines can survive intermedi-
          ate scrutiny. Heller II, 670 F.3d at 1244. Here, Highland Park
          has a legitimate interest in ensuring the safety of its citizens in
          schools and other public places. For this reason, there is no
          problem concluding that the ordinance, insofar as it regulates
          the possession and use of the weapons in public places, coheres
          with the Second Amendment.
               Several other matters require attention as well.
              The rights in the Second Amendment: The court treats these
          rights as unitary and undifferentiated. In so doing, it makes no
          distinction between the right to keep arms to defend one’s
          home and the right to use those arms in a constitutionally
          permissible manner. But the Supreme Court has established
          clear parameters: the right to keep arms in the home for self-
          defense obtains the broadest protection, McDonald, 561 U.S. at
          767 (noting that the “need for defense of self, family, and
          property is most acute in the home … ), while other rights
          under the Second Amendment are “not unlimited” but are
          subject to appropriate regulation. Here, the court makes no
          attempt to parse out the various activities prohibited by
          Highland Park’s ordinance; instead it treats as identical
          activities as diverse as keeping weapons in the home and
          manufacturing them for sale. Heller requires courts to identify
          the specific activity regulated; the court here failed to do this.
             The effect of longstanding regulations: It is important to note
          that Heller, for good reasons, did not seek to dismantle in
          whole the nexus of existing firearms regulations. Instead, it
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          sought to recast the focus of courts away from policy consider-
          ations and towards the original meaning of the Second
          Amendment. In so doing, it left intact existing regulations and
          stated that longstanding ones are accorded a presumption of
          constitutionality. Heller, 554 U.S. at 626–27.
              But a presumption is a very different thing from an
          assertion: we presume that laws are constitutional until and
          unless the regulation is challenged and a competent court
          informs us otherwise. In other words, it is a very different
          thing to presume a statute to be constitutional than to posi-
          tively assert that it is. Here the court outlines various long-
          standing regulations and then proceeds to use them as a
          navigational chart to determine the confines of permissible
          firearm regulation. All of this culminates in a syllogism that
          runs, roughly speaking, as follows: machine guns have been
          illegal under law; assault weapons are similar to machine guns;
          therefore, assault rifles may be prohibited under law. Nothing
          in Heller or McDonald supports this as an appropriate frame-
          work.
              The evidentiary record: The court ignores the central piece of
          evidence in this case: that millions of Americans own and use
          AR-type rifles lawfully. (A.65–73). Instead, it adopts—as the
          final word on the matter and with no discussion—Highland
          Park’s position that the evidence is inconclusive on this
          question; and it does this notwithstanding the fact that all of
          the relevant evidence supports defendant’s contention that AR-
          type rifles are commonly used throughout this nation. Addi-
          tionally, it posits as self-evident a comparison between
          semiautomatic weapons and machine guns despite the fact that
          the existing science is, at best, contested on this. More signifi-
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          cantly, the only relevant evidence in record disputes this
          contention.6
              The post-Heller framework: The court wholly disregards the
          (albeit still nascent) post-Heller framework established in this
          and our sister courts in favor of its own, unique path. In so
          doing, it offers a methodology in direct conflict to that offered
          by this circuit in previous cases, see, e.g., Ezell, 651 F.3d 684, and
          out of step with other circuits, United States v. Marzzarella, 614
          F.3d 85 (3d Cir. 2010); Heller II, 670 F.3d 1244.
              Judicial findings: Finally, the court justifies the ordinance as
          valid because it “may increase the public’s sense of safety.”
          Perhaps so, but there is no evidentiary basis for this finding.
          The court is not empowered to uphold a regulation as constitu-
          tional based solely on its ability to divine public sentiment
          about the matter.
               As noted earlier, the post-Heller framework is very much a
          work in progress and will continue to be refined in subsequent
          litigation. Neither Heller nor McDonald purported to resolve
          every matter involving the regulation of weapons; but they are
          clear about one thing: the right to keep arms in the home for
          self-defense is central to the Second Amendment and is not
          conditioned on any association with a militia. Instead of
          following this clear principle, the court engages in a gerryman-
          dered reading of those cases to hold directly contrary to their


               6
                Plaintiffs submitted a video demonstration highlighting some of the
          differences between semiautomatic, AR-type rifles and automatic rifles. (A.
          63). Automatic weapons are selective-fire weapons where a single pull of
          the trigger will fire continuously until all ammunition is exhausted. (A. 21)
          In contrast, a semiautomatic weapon only allows for one round per pull. (A.
          19).
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          precedents. In so doing, it upholds an ordinance that violates
          the Second Amendment rights of its citizens to keep arms in
          their homes for the purpose of defending themselves, their
          families, and their property.
             I respectfully dissent.
